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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :       Case No. 23-cr-341 (RBW)
                                              :
ANNA LICHNOWSKI,                              :
                                              :
               Defendant.                     :

                   UNITED STATES’ RESPONSE IN OPPOSITION TO
                 DEFENDANT’S MOTION TO CONTINUE SENTENCING

       The Government respectfully submits this opposition to the defendant’s motion to continue

sentencing set for November 8, 2024. On July 10, 2024, after a three-day bench trial, the Court

found the defendant guilty of violating 18 U.S.C. § 1752(a)(1) (entering or remaining in a restricted

building or grounds), 18 U.S.C. § 1752(a)(2) (disorderly or disruptive conduct in a restricted

building or grounds), 40 U.S.C. § 5104(e)(2)(D) (disorderly or disruptive conduct on the grounds

of or in any U.S. Capitol building), and 40 U.S.C. § 5104(e)(2)(G) (parading, demonstrating, or

picketing in the U.S. Capitol building).

       There is a public interest in the prompt and efficient administration of justice. The

government and the Court have endeavored to deliver that interest. The government disagrees that

a continuance is warranted here, and the Court should proceed as it would in any other prosecution.

See, e.g., United States v. Bosch, No. 24-cr-210 (DLF), Nov. 7, 2024 Minute Order (denying

motion to continue trial based on claim of potential clemency); United States v. Carnell, et al., No.

23-cr-139 (BAH), Nov. 6, 2024 Minute Order (denying motion to continue status conference based

on claim of potential clemency).




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                            Respectfully submitted,

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